         Case 2:23-bk-53043           Doc 257 Filed 08/12/24 Entered 08/12/24 16:33:48                   Desc
                                             Pre-Trial Page 1 of 1
Form 3ptrial
(Rev. 1/22)
                                     UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF OHIO
                                             EASTERN DIVISION

In re:                                                      :
               Welcome Group 2, LLC                         :      Case No. 23−53043
                                                            :      Chapter 11
                 Debtor.                                    :      Judge Mina Nami Khorrami
                                                            :
TAX ID:        83−0586795                                   :


                                      NOTICE OF PRETRIAL CONFERENCE




Notice is given that a pre−trial will be held at:

ADDRESS: By Telephone, U.S. Bankruptcy Court,
         Southern District, OH

DATE:           9/25/24

TIME:           01:00 PM

      TO CONSIDER AND ACT ON THE FOLLOWING MATTERS and transact such other business as may
properly come before the Court:

[166] Motion for Relief from Stay to terminate Franchise Agreement Filed by Creditor Hilton Franchise Holding
LLC).

This telephonic hearing will be held via Zoom and will begin promptly at the scheduled time. Please note: Zoom
telephonic hearings will only work with a telephone connection. Please call in to Zoom at least 15 minutes prior to the
scheduled hearing time to assure technical compatibility, otherwise you may not be permitted to participate in the
hearing. Please see the Zoom telephone number and meeting ID below.

Dial by telephone
+1 669 254 5252
Meeting ID: 161 306 9535

One tap mobile
+16692545252,,1613069535#

No unauthorized weapons are permitted on the court's premises. Cellular phones and portable electronic
devices are permitted provided that they are not used to take photographs or record any court proceedings
unless otherwise authorized by the court.

Dated: August 12, 2024

                                                                FOR THE COURT:
                                                                Richard B. Jones
                                                                Clerk, U.S. Bankruptcy Court
